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     DANIEL HILL
1
     HILL FIRM PLLC
2    Nevada Bar No. 12773
     228 S. 4th Street, 3rd Floor
3    Las Vegas, Nevada 89101
     Phone: 702-848-5000
4    Fax: 702-442-8338
     dan@hillfirmlawyers.com
5    Attorney for Defendant

6                         UNITED STATES DISTRICT COURT
                               DISTRICT OF NEVADA
7
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8
       UNITED STATES OF AMERICA,                         Case No. 2:16-cr-230-GMN-DJA
9
                                Plaintiff,                STIPULATION TO CONTINUE
10                                                              SENTENCING
                    vs.                                         (Third Request)
11
       TAJ THOMPSON,
12
                               Defendant.
13

14            IT IS HEREBY STIPULATED AND AGREED by and between the United States

15    of America, through Shaheen Torgoley, Esq., Assistant United States Attorney, together

16    with Daniel Hill, Esq., counsel for defendant Taj Thompson, that the sentencing hearing

17    currently scheduled for September 23, 2020 at 11:00 a.m. be vacated and set to a date

18    and time convenient to this Court approximately 30 days from the current sentencing

19    date.

20            This stipulation is entered into for the following reasons:

21            1. The Defendant is out of custody and does not object to the continuance.

22
              2. The parties mistakenly anticipated that their joint status report (ECF No.
23               383) would result in a continuance of the sentencing hearing. Counsel for Mr.

24               Thompson announced ready on a State jury trial (Nevada v. Kristopher
                                                    1
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1            Peters, Eighth Judicial District Court case number C-19-345575-1). Jury

2            selection on that case will begin Monday, September 21, 2020 at 9:00 a.m. and

             trial will last the week.
3
          3. Counsel for Mr. Thompson will be seeking a variance in this case. Owing to
4
             trial preparation in State v. Kristopher Peters, he will be unable to complete
5            and file a timely sentencing memorandum.

6         4. The parties agree to the continuance.

7         5. Additionally, denial of this request for continuance could result in a

8            miscarriage of justice.

9         6. The additional time requested by this Stipulation is made in good faith and

10           not for purposes of delay.

11        7. This is the third request for a continuance of the sentencing hearing.

12
                 DATED this 17th day of September 2020.
13
                                               /s/ Daniel Hill
14                                             ______________________
                                               Daniel Hill, Esq.
15                                             Counsel for Taj Thompson

16                                             /s/ Shaheen Torgoley
                                               ______________________
17                                             Shaheen Torgoley, Esq.
                                               Counsel for the United States
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                      UNITED STATES DISTRICT COURT
2                         DISTRICT OF NEVADA
3                                -oOo-
4
      UNITED STATES OF AMERICA,                       2:16-cr-230-GMN-DJA
5
                              Plaintiff,
6
                                                      ORDER
                   vs.
7
      TAJ THOMPSON,
8
                             Defendant.
9

10            The ends of justice served by granting said continuance outweigh the best
11   interest of the public and the defendant in a speedy sentencing, since the failure to grant
12   said continuance would be likely to result in a miscarriage of justice, would deny the
13   parties herein sufficient time and the opportunity within which to be able to effectively
14   and thoroughly prepare for sentencing, taking into account the exercise of due diligence.
15            IT IS THEREFORE ORDERED that sentencing in the above-captioned matter
16
     currently scheduled for September 23, 2020 at 11:00 a.m., be vacated and continued
17   to October 28, 2020                   at     10:00 a.m.     .
18            IT IS FURTHER ORDERED that this is a firm sentencing date and no further

19   continuances will be granted without a hearing to demonstrate a sufficient basis for

20   delay.

21   DATED           18      day of September, 2020.

22

23                                              THE HONORABLE GLORIA M. NAVARRO
                                                U.S. DISTRICT COURT JUDGE
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                                                  3
